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 8                               UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10
     ZHUOER CHEN, an individual; MENGCHENG              Case No. 3:25-cv-03292-SI
11   YU, an individual; JIARONG OUYANG, an
     individual; and GEXI GUO, an individual;
12                                                      NOTICE OF MOTION AND MOTION
                   Plaintiffs,                          FOR TEMPORARY RESTRAINING
13                                                      ORDER; MEMORANDUM OF LAW
     vs.                                                IN SUPPORT OF PLAINTIFFS’
14                                                      MOTION FOR NATIONWIDE
     KRISTI NOEM, in her official capacity as           TEMPORARY RESTRAINING
15   Secretary of the U.S. Department of Homeland       ORDER
     Security; and TODD LYONS, in his official
16   capacity as Acting Director of U.S. Immigration    Judge: Honorable Susan Illston
     and Customs Enforcement;                           Date:
17                                                      Time:
                   Defendants.                          Courtroom: Room 1
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 1          TO DEFENDANTS AND THEIR ATTORNEYS OF RECORDS:

 2          PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 65(b) and

 3   Northern District of California Local Rules 7-2 and 65-2, Plaintiffs Zhuoer Chen, Mengcheng

 4   Yu, Jiarong Quyang, and Gexi Guo hereby move this Court for a nationwide Temporary

 5   Restraining Order (“TRO”) as follows:

 6          1.      Directing Defendants to reinstate the SEVIS records and F-1 student status of

 7   Plaintiffs and all other affected F-1 students who have no record of criminal conviction and whose

 8   SEVIS records and F-1 visa status have been terminated or revoked since March 1, 2025; and

 9          2.      Prohibiting Defendants from issuing future SEVIS terminations against F-1

10   international students without record of criminal conviction absent notice, individualized

11   explanation, and an opportunity to respond.

12          Plaintiffs request a hearing on their motion on April 18, 2025, or as soon as this court is

13   available, in light of the irreparable harm Plaintiffs and all other affected F-1 students without

14   record of criminal conviction will face due to the unlawful termination of the SEVIS records.

15   Without a prompt order from this Court, Plaintiffs and thousands of affected students will soon

16   accrue “unlawful presence” under immigration law that will permanently jeopardize their status

17   in this country and ability to obtain another visa.

18          This motion is based upon this Notice of Motion and Motion for Nationwide TRO,

19   Declaration of Keliang (Clay) Zhu, Declarations of Yi Yao, Declaration of Jing Feng and Becky

20   Fu Von Trapp, Declaration of Richard A. Boswell, Declaration of Zhuoer Chen, Declaration of

21   Mengcheng Yu, Declaration of Jiarong Ouyang, and Declaration of Gexi Guo; the Memorandum

22   of Points and Authorities in Support of Plaintiffs’ Motion for TRO, and the supporting exhibits;

23   and the [Proposed] Order Granting TRO, all filed herewith; and all papers and pleadings on file

24   in this action, and such other pleadings, oral argument and/or documentary evidence as may

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                                                 -1-              CASE NO. 3:25-cv-03292-SI
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 1   come before the Court upon the hearing of this matter. Pursuant to Federal Rule of Civil

 2   Procedure 65(b) and Norther District of California Local Rule 7-2 and 65-2, Plaintiffs

 3   respectfully request that this Court issue the Proposed Order Granting TRO.

 4           Counsel for Plaintiffs has provided notice to Defendants on April 15, 2025 and will

 5   promptly send a copy of these files to Defendants on April 15, 2025 using overnight delivery.

 6   See Decl. of Andre Y. Bates Regarding Not. Of Filing Appl. For Notionwide TRO, filed

 7   concurrently.

 8
     Dated: April 15, 2025                        Respectfully submitted,
 9                                                DEHENG LAW OFFICES PC
                                                  /s/  Andre Y. Bates
10
                                                       Andre Y. Bates
11                                                Attorneys for Plaintiffs
                                                  Zhuoer Chen, Mengcheng Yu, Jiarong Ouyang, and
12                                                Gexi Guo

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                                               -2-              CASE NO. 3:25-cv-03292-SI
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 9                           NORTHERN DISTRICT OF CALIFORNIA

10
     ZHUOER CHEN, an individual; MENGCHENG              Case No. 3:25-cv-03292-SI
11   YU, an individual; JIARONG OUYANG, an
     individual; and GEXI GUO, an individual;
12                                                      MEMORANDUM OF LAW IN
                   Plaintiffs,                          SUPPORT OF PLAINTIFFS’ MOTION
13                                                      FOR NATIONWIDE TEMPORARY
     vs.                                                RESTRAINING ORDER
14
     KRISTI NOEM, in her official capacity as           Judge: Honorable Susan Illston
15   Secretary of the U.S. Department of Homeland       Date:
     Security; and TODD LYONS, in his official          Time:
16   capacity as Acting Director of U.S. Immigration    Courtroom: Room 1
     and Customs Enforcement;
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                   Defendants.
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 1   I.     INTRODUCTION

 2          On day one, the current federal administration announced that it would carry out a

 3   sweeping deportation and removal campaign to target large numbers of immigrants across the

 4   country. In recent weeks, we have learned that hundreds of individuals—including at least a U.S.

 5   citizen and many lawful permanent residents—have been abruptly detained and flown, without

 6   warning or due process, to one of the most notorious prisons in Latin America based on alleged

 7   gang affiliations. Even more alarming is the revelation of a parallel, lesser-known operation. This

 8   covert operation, unless immediately halted by a court order, bypasses essential legal protections

 9   guaranteed under federal law and effectively forces hundreds—potentially thousands—of people

10   to immediately self-deport with no opportunity to be heard.

11          Plaintiffs Zhuoer Chen, Mengcheng Yu, Jiarong Ouyang, and Gexi Guo are accomplished

12   international students who have lawfully pursued advanced degrees in the United States under F-

13   1 student visa status and who have been swept up in Defendants’ unconstitutional operation.

14          In March 2025, the U.S. Department of Homeland Security (“DHS”), through U.S.

15   Immigration and Customs Enforcement (“ICE”), initiated an unprecedented wave of Student and

16   Exchange Visitor Information System (“SEVIS”) terminations against hundreds if not thousands

17   of international students with F-1 visas across the country, including Plaintiffs herein. SEVIS is

18   a web-based system used by DHS to track and monitor information about nonimmigrant students

19   and exchange visitors in the United States.

20          Termination of the SEVIS records of Plaintiffs and other affected international students

21   results in irreparable harm and causes a nationwide impact, as the affected students are required

22   to leave the country immediately. They must abruptly suspend their studies (one of the Plaintiffs

23   is a month away from graduation), end housing arrangements or leases, lose employment

24   authorization, face virtually insurmountable bars when re-entering the U.S. if they depart, and if

25   they have any dependents, their status is also terminated.
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 1             The mass terminations were arbitrary, capricious, and contrary to law. They were issued

 2   without notice, hearing, or legal justification, violating the most basic principles of fairness and

 3   due process. People who are facing deportation enjoy much greater procedural rights than these

 4   students. The mass terminations were issued in violation of the Administrative Procedure Act

 5   (“APA”), the Due Process and Equal Protection Clauses of Fifth Amendment to the U.S.

 6   Constitution, and longstanding agency policy.

 7             At the most elemental level, the United States Constitution requires notice and a

 8   meaningful opportunity to be heard. See Choeum v. I.N.S., 129 F.3d 29, 38 (1st Cir. 1997) (“At

 9   the core of [a noncitizen’s] . . . due process rights is the right to notice and the nature of the

10   charges and a meaningful opportunity to be heard.”); Matthews v. Eldridge, 424 U.S. 319, 322

11   (1976). No such process was provided here with respect to the termination of student status,

12   warranting relief under Plaintiffs’ Complaint. The United States Constitution also prohibits the

13   United States from “invidiously discriminating between individuals or groups,” such as aliens as

14   DHS and ICE have done in this case.

15             The arbitrary nature and legal infirmity of Defendants’ actions have already led at least

16   one federal court to issue emergency relief. In Liu v. DHS, No. 1:25-cv-00133-LM (D.N.H. Apr.

17   7, 2025), the court issued a Temporary Restraining Order halting the SEVIS termination of a

18   Chinese doctoral student at Dartmouth College. A true and correct copy is attached as Exhibit 1.

19   The court found the termination occurred without notice, individualized review, or lawful

20   justification, and likely violated both the APA and the Fifth Amendment. Ex. 1 at 3. The present

21   case involves materially identical facts and legal violations, reinforcing the need for immediate

22   relief.

23             Plaintiffs seek a nationwide Temporary Restraining Order (i) directing Defendants to

24   reinstate the SEVIS records and F-1 student status of Plaintiffs and all other F-1 students who

25   have no record of criminal conviction and whose SEVIS records and F-1 visa status have been
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 1   terminated or revoked since March 1, 2025; and (ii) prohibiting Defendants from issuing future

 2   SEVIS terminations against F-1 international students without record of criminal conviction

 3   absent notice, individualized explanation, and an opportunity to respond.

 4          Such a nationwide order is necessary and appropriate because the mass termination of

 5   Plaintiffs’ and other students’ SEVIS records results in imminent and irreparable harm and

 6   causes a nationwide impact including, without limitation, potential immigration detention and

 7   deportation and the inability to continue their education and lives in this country.

 8   II.    BACKGROUND

 9          A.      Mass Termination of SEVIS Records by Government Agencies is
                    Unprecedented and Highly Unusual.
10

11          A nonimmigrant visa controls a noncitizen’s admission into the United States, not their

12   continued stay. Congress established a statutory basis for student visas under 8 U.S.C.§

13   1101(a)(15)(F)(i), requiring that a noncitizen engage in a full course of study to maintain

14   nonimmigrant status. Once admitted in F-1 status, a student is granted permission to remain in

15   the United States for the duration of status (D/S) as long as they continue to meet the

16   requirements established by the regulations governing their visa classification in 8 C.F.R. §

17   214.2(f), such as maintaining a full course of study and avoiding unauthorized employment.

18          Students who complete that course of study are entitled to apply for Optional Practical

19   Training (“OPT”), which, if approved, allows them to remain for an additional year (and in cases

20   of STEM degrees up to three years) working in their field of study.

21          SEVIS is a centralized database maintained by the Student and Exchange Visitor Program

22   (“SEVP”) within ICE used to manage information on nonimmigrant students and exchange

23   visitors and track their compliance with terms of their status. Under 8 C.F.R. § 214.3 (g)(2),

24   Designated School Officials (“DSOs”) must report through SEVIS to SEVP when a student fails

25   to maintain status. SEVIS termination is governed by SEVP policy and regulations. Termination
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 1   of SEVIS registration can only be done on one of the outlined grounds, one of which is a student’s

 2   failure to maintain status.

 3          DHS regulations distinguish between two separate ways a student may become “out of

 4   status”: (1) a student who “fails to maintain status,” and (2) an agency-initiated “termination of

 5   status.” The first category, failure to maintain status, involves circumstances where a student

 6   voluntarily or inadvertently falls out of compliance with the F-1 visa requirements, for example

 7   by failing to maintain a full course of study, engaging in unauthorized employment, or other

 8   violations of their status requirements under 8 C.F.R. § 214.2 (f). In addition, 8 C.F.R. §§ 214.1

 9   (e)–(g) outlines specific circumstances where certain conduct by any nonimmigrant visa holder

10   “constitutes a failure to maintain status,” such as engaging in unauthorized employment,

11   providing false information to DHS, or being convicted of a crime of violence with a potential

12   sentence of more than a year. No Plaintiff in this action falls within any of these subsections.

13          With respect to the crime of violence category, 8 C.F.R. § 214.1 (g) sets forth that a

14   nonimmigrant’s conviction “for a crime of violence for which a sentence of more than one year

15   imprisonment may be imposed (regardless of whether such sentence is in fact imposed)

16   constitutes a failure to maintain status . . .” Minor misdemeanor offenses do not meet this

17   threshold for termination based on criminal history. No Plaintiff falls under this subsection.

18          The second category, termination of status by DHS, can occur only under the limited

19   circumstances set forth in 8 C.F.R. § 214.1 (d), which only permits DHS to terminate status when:

20   (1) a previously granted waiver under INA § 212(d)(3) or (4) [ 8 U.S.C. § 1182(d)(3) or (4)] is

21   revoked; (2) a private bill to confer lawful permanent residence is introduced in Congress; or (3)

22   DHS publishes a notification in the Federal Register identifying national security, diplomatic, or

23   public safety reasons for termination. DHS cannot otherwise unilaterally terminate nonimmigrant

24   status. See Fang v. Dir. United States Immigr. & Customs Enf't, 935 F.3d 172, 185 n.100 (3d Cir.

25   2019). An arrest or a traffic citation is not a basis for termination of SEVIS per DHS’s own
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 1   regulations. See U.S. Department of Homeland Security, Study in the States – SEVIS Help Hub,

 2   https://studyinthestates.dhs.gov/sevis-help-hub. And, DHS has not published a Federal Register

 3   notification related to any of the students whose SEVIS registration it has terminated. No Plaintiff

 4   is covered by any of these termination subsections.

 5          Accordingly, the revocation of a visa does not constitute failure to maintain status and

 6   cannot therefore be a basis for SEVIS termination. If a visa is revoked prior to the student’s arrival

 7   to the United States, then a student may not enter, and the SEVIS record is terminated. However,

 8   the SEVIS record may not be terminated because of a visa revocation after a student has been

 9   admitted into the United States, because the student is permitted to continue the authorized course

10   of study. ICE Policy Guidance 1004-04–Visa Revocations (Jun. 7, 2010), available at

11   https://www.ice.gov/doclib/sevis/pdf/visa_revocations_1004_04.pdf. A true and correct copy is

12   attached as Exhibit 2.

13          ICE’s own guidance confirms that “[v]isa revocation is not, in itself, a cause for

14   termination of the student’s SEVIS record.” Id. Rather, if the visa is revoked, the student is

15   permitted to pursue their course of study in school, but upon departure, the SEVIS record is

16   terminated and the student must obtain a new visa from a consulate or embassy abroad before

17   returning to the United States. Guidance Directive 2016-03, 9 FAM 403.11-3 – VISA

18   REVOCATION (Sept. 12, 2016), available at https://www.aila.org/library/dos-guidance-

19   directive-2016-03-on-visa-revocation. A true and correct copy is attached as Exhibit 3.

20          While a visa revocation can be charged as a ground of deportability in removal

21   proceedings, deportability can be contested in such proceedings. See 8 USC § 1227(a)(1)(B); 8

22   U.S.C. § 1201(i) (allowing immigration court review of visa revocation). The immigration judge

23   may also even dismiss removal proceedings where a visa is revoked, so long as a student is able

24   to remain in valid status. 8 C.F.R. § 1003.18 (d)(ii)(B). Only when a final removal order is entered

25   is status lost. None of these Plaintiffs have been placed in removal proceedings.
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 1          A student who has not violated their F-1 status, even if their visa is revoked, cannot have

 2   a SEVIS record terminated based on INA § 237(a)(1)(C)(i) [8 U.S.C. § 1227(a)(1)(C)(i)] (failure

 3   to maintain status), INA §237(a)(4)(C)(i) [8 U.S.C. § 1227(a)(4)(C)(i)] (foreign policy grounds),

 4   or any deportability ground for that matter.

 5          Because these consequences are immediate and irrevocable, and because SEVIS

 6   terminations are not subject to review by an immigration judge, lawful and consistent

 7   administration of SEVIS is essential to preserving due process and students’ legal rights. Without

 8   the SEVIS and F-1 status, students suffer immediate consequences such as facing ICE

 9   investigations and are required to leave the country. See Decl. of Jing Feng and Becky Yu Von

10   Trapp in Supp. of Pls.’ Mot. for TRO (“Feng and Von Trapp Decl.”), filed concurrently, at ¶¶13-

11   14. This amounts to self-deportation. But in a real deportation proceeding, a person is entitled to

12   all the due process including a hearing before the immigration judge. There is also no

13   administrative appeal of a denial to reinstate F-1 status. The termination of a SEVIS record

14   constitutes final agency action for purposes of APA review. Fang, 935 F.3d at 185.

15           Sometime in March 2025, ICE began a sweeping and unexplained pattern of terminating

16    the SEVIS records of international students without notice, justification, or individualized

17    process and regardless of whether they had any adverse immigration or criminal history. These

18    terminations have affected hundreds if not thousands of students nationwide. University

19    officials were similarly left in the dark, reporting a surge in unexpected SEVIS terminations

20    without any prior warning from DHS or ICE. The scope and speed of this operation have

21    created widespread panic among students, many of whom remain in the United States unaware

22    that their legal status has been silently stripped from them. See generally, Decl. of Yi Yao in

23    Supp. of Pls.’ Mot. for TRO (“Yao Decl.”), filed concurrently.

24          It is unprecedented for the federal government to revoke F-1 visa and terminate the

25   SEVIS records of hundreds if not thousands of international students in a blanket manner without
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 1   prior notice, individual investigation, or coordination with the DSOs of the academic institutions

 2   involved. Terminations initiated directly by DHS or ICE, especially on a large scale, are

 3   generally reserved for rare national security or fraud-related cases. ICE taking these steps is

 4   highly unusual, as terminating SEVIS records is usually done by the university under specific

 5   circumstances spelled out in the regulations (such as withdrawing from school), and the student

 6   is expected to depart the U.S. immediately. See Feng and Von Trapp Decl., at ¶¶6, 9, 10 (“The

 7   2025 SEVIS termination is a radical departure from precedents and customary practice”); Decl.

 8   of Richard A. Boswell in Supp. of Pls.’ Mot. for TRO (“Boswell Decl.”), filed concurrently, at

 9   ¶¶16-17 (“In my more than 45 years of practice and certainly since the institution of SEVIS I am

10   not aware of any comparable mass termination of status”); see also, e.g., Policy Brief: Immigr.

11   Enf’t Actions Against Int’l Students, Am. Immigr. Lawyers Ass’n (April 8, 2025),

12   https://www.aila.org/library/policy-brief-immigration-enforcement-actions-against-international-

13   students. A true and correct copy is attached as Exhibit 4.

14          B.      The Four Plaintiffs Have No Record of Criminal Convictions, But Their
                    SEVIS Records Were Terminated Without Notice or Any Due Process.
15

16          The plaintiffs in this case—Zhuoer Chen, Mengcheng Yu, Jiarong Ouyang, and Gexi

17   Guo—are all law-abiding students who have never been convicted of any crime, let alone one

18   implicating public safety or national security. They have maintained their F-1 status, complied

19   with the terms of their student visas, maintained academic standing, and contributed to their

20   schools and communities. Some have had previous contact with law enforcement resulting in

21   dismissed or expunged charges, while others have no record whatsoever. There is no legal or

22   factual basis for treating these students as threats to public safety or grounds for removal. ICE’s

23   decision to terminate their SEVIS records is not only unlawful—it is unsupported by evidence,

24   process, or reason.

25          Plaintiff Zhuoer Chen will complete her Master of Architecture at UC Berkeley next
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 1   month, in May 2025. On or about April 8, 2025, Ms. Chen received notice that her SEVIS record

 2   was terminated by DHS, with no prior warning or opportunity to contest the decision. No

 3   explanation or basis for the termination has been provided. The only known incident in her

 4   record is an arrest for an alleged physical altercation with her friend that resulted in no charges.

 5   See Decl. of Zhuoer Chen in Supp. of Pls.’ Mot. for TRO (“Chen Decl.”), filed concurrently, at

 6   ¶7.

 7          Plaintiff Mengcheng Yu is pursuing a Master of Science in Educational Technology and

 8   Applied Learning Science at Carnegie Mellon University, and is expected to graduate in four

 9   months, August 2025. She has maintained continuous legal presence since first arriving in the

10   U.S. as a high school student in 2010. In 2015, she unknowingly enrolled in the fake University

11   of Northern New Jersey (“UNNJ”), but cooperated with federal agents and later completed a

12   degree at NYU. She is a class member under the UNNJ settlement agreement, which bars the

13   government from using her enrollment in UNNJ as grounds for denial of immigration benefits.

14   She has no criminal record, not even an arrest. Nevertheless, her SEVIS record was abruptly

15   terminated in April 2025 without any stated basis, and without any notice or opportunity for

16   review. See Decl. of Mengcheng Yu in Supp. of Pls.’ Mot. for TRO (“Yu Decl.”), filed

17   concurrently, at ¶4-5.

18          Plaintiff Mr. Jiarong Ouyang came to the United States in 2012 and earned both a

19   Bachelor of Science in Computing Statistics and then a Master of Science in Applied Statistics

20   from the University of California, Riverside. He is currently a Ph.D. candidate in Statistics at the

21   University of Cincinnati, where he holds a GPA of 3.94 and is expected to graduate in April

22   2026. Mr. Ouyang was arrested for an alleged domestic dispute incident but was never convicted

23   of a crime and the charges were dismissed. Mr. Ouyang’s SEVIS record and F-1 student status

24   were abruptly terminated in April 2025. According to the University of Cincinnati’s international

25   office, the termination was based on the previously dismissed arrest. Mr. Ouyang received no
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 1   prior notice, hearing, or opportunity to contest the decision. See Decl. of Jiarong Ouyang in

 2   Supp. of Pls.’ Mot. for TRO (“Ouyang Decl.”), filed concurrently, at ¶6-7.

 3           Plaintiff Gexi Guo has spent the last eight years in the United States building a life of

 4   academic and professional development. He earned a Bachelor of Science from Pennsylvania

 5   State University and subsequently completed his graduate studies at Columbia University

 6   graduating with a 3.8 GPA. Mr. Guo was arrested in May 2024 for an alleged simple assault. The

 7   charge was dismissed and fully expunged by court order in August 2024 pursuant to N.J.S.A.

 8   2C:52-6. The expungement order explicitly directs all law enforcement and government agencies

 9   to treat the incident as though it never occurred. Despite this, his SEVIS record was terminated

10   without notice or an opportunity to be heard, based on conduct that has been judicially expunged

11   and is legally deemed not to have occurred. See Decl. of Gexi Guo in Supp. of Pls.’ Mot. for

12   TRO (“Guo Decl.”), filed concurrently, at ¶5.

13           The sudden and unexplained SEVIS terminations have placed Plaintiffs’ immigration

14   status, educations, careers, and the ability to care for their families and pets in immediate

15   jeopardy. They also face the grave risk of being deported and never being able to obtain another

16   proper visa to return to this country.

17           C.      The Mass SEVIS Termination is Affecting Hundreds if Not Thousands of
                     Similarly-situated International Students Across the Country.
18

19           Plaintiffs are not alone with respect to this abrupt termination of student status. Numerous

20   foreign students in the United States were recently notified by their schools that their F-1 student

21   status was terminated for unspecified reasons. As set forth in Yao Decl. and the exhibits attached

22   thereto, there have been more than forty (40) separate media reports published in April 2025,

23   describing SEVIS terminations affecting students across various U.S. states and academic

24   institutions.

25           The earliest known public report of these terminations appeared on April 4, 2025, in
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 1   OurMidland and described how several international students at Central Michigan University had

 2   their visa records unexpectedly terminated by the DHS without explanation or prior notice. Since

 3   that time, multiple national and regional outlets — including The Wall Street Journal, New York

 4   Times, Washington Post, USA Today, Associated Press, San Francisco Chronicle, Texas

 5   Tribune, and Salt Lake Tribune — have reported similar incidents at institutions such as: Harvard

 6   University; Stanford University; Columbia University; Carnegie Mellon University; University

 7   of Michigan; University of California, Berkeley; University of California, Los Angeles;

 8   University of California, San Diego; University of California, Davis; Texas A&M University;

 9   Arizona State University; University of Cincinnati, among others. See generally, Yao Decl.

10          According to these reports, hundreds of students have been affected. The stated or inferred

11   reasons vary widely and include: arrests that resulted in no charges or were later expunged; minor

12   traffic infractions; or no adverse record whatsoever. Id.

13           Most of the articles indicate that the universities themselves were unaware of the

14   impending terminations and received no advance communication from DHS or ICE. Affected

15   students reportedly received no individualized explanation or opportunity to contest the decision

16   before their legal status was revoked. Id. The mass terminations appear to follow no consistent

17   legal standard, affect students who have maintained lawful status, good academic standing, and

18   visa compliance, and reflect a pattern of action that is sudden, opaque, and nationwide in scope.

19   The lack of prior notice, individualized review, or stated rationale suggests that the mass

20   terminations are arbitrary, procedurally deficient, and not grounded in DHS’s own rules or

21   guidance.

22          In the past weekend, Plaintiffs’ counsel put out a public call seeking information from

23   other affected students. Within the span of about thirty hours, Plaintiffs’ counsel received

24   messages from more than 50 students who described similar experiences. Among them, 36

25   provided sworn declarations to support a nationwide TRO. See Declaration of Keliang (Clay)
                                                  -10-             CASE NO. 3:25-cv-03292-SI
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 1   Zhu in Support of Plaintiffs’ Motion for Temporary Restrating Order (“Zhu Decl.”), filed

 2   concurrently.

 3           These 36 declarations include students from 30 colleges and universities across the

 4   country, namely: University of Southern California, San Diego State University, Santa Monica

 5   College, Academy of Art University, Sofia University, Arizona State University, DePaul

 6   University, University of Wisconsin-Madison, Purdue University, University of Tennessee,

 7   Tennessee Wesleyan University, Vanderbilt University, University of Georgia, Georgia Institute

 8   of Technology, Georgia State University, Emory University, University of Texas-Austin,

 9   University of Texas-Dallas, Texas A&M University, Texas Tech University, University of Texas

10   Health Science Center at Houston, University of Florida, Columbia University, Clemson

11   University, University of Pennsylvania, John Hopkins University, University of Connecticut,

12   Savannah College of Art & Design, Emerson College, and Pratt College. See id. at ¶4.

13           Like the Plaintiffs, none of these 36 students has a criminal conviction, but in recent weeks

14   their SEVIS record was terminated abruptly without any warning or opportunity to be heard. Id.

15   at ¶6. It is clear that the Defendants have been conducting a nationwide campaign against

16   international students.

17   III.    LEGAL STANDARD

18           In Babaria v. Blinken, 87 F.4th 963, 976 (9th Cir. 2023), the Ninth Circuit outlined that to

19   obtain a preliminary injunction, a plaintiff must establish: (1) a likelihood of success on the

20   merits, (2) a likelihood of irreparable harm in the absence of preliminary relief, (3) that the

21   balance of equities favors the plaintiff, and (4) that an injunction is in the public interest. The

22   court also notes that the legal standards applicable to TROs and preliminary injunctions are

23   “substantially identical.” Id. at 976.

24   IV.     ARGUMENT

25           A.      Plaintiffs are Likely to Succeed on the Merits of Their Claims.
                                                    -11-                CASE NO. 3:25-cv-03292-SI
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 1          Plaintiffs satisfy all of the requirements for issuance of a nationwide Temporary

 2   Restraining Order in this case. Indeed, another federal district court last week issued a

 3   Temporary Restraining Order halting the SEVIS termination of a Chinese doctoral student at

 4   Dartmouth College based on materially identical fact pattern. See Exhibit 1. The court found the

 5   SEVIS termination occurred without notice, individualized review, or lawful justification, and

 6   likely violated both the APA and the Fifth Amendment. Exhibit 1 at 3.

 7                  i.      The Mass Terminations Violate the Fifth Amendment’s Due Process
                            Clause.
 8

 9          Defendants’ mass termination of the F-1 student status straightforwardly violates the Fifth

10   Amendment’s Due Process Clause. As admitted noncitizen students in the United States,

11   Plaintiffs are entitled to due process rights. See Hernandez-Lara v. Lyons, 10 F.4th 19, 29 (1st Cir.

12   2021) (“due process ‘applies to all ‘persons’ within the United States, including aliens, whether

13   their presence here is lawful, unlawful, temporary, or permanent”) (quoting Zadvydas v. Davis, 533

14   U.S. 678, 693 (2001)). The basic principle of a noncitizen’s due process rights is “the right to

15   notice and the nature of the charges and a meaningful opportunity to be heard.” Choeum, 129

16   F.3d 29, 38.

17          However, in this case, Defendants did not provide any notice to Plaintiffs about their

18   decision to terminate Plaintiffs’ F-1 student status. Nor did Defendants comply with the

19   requirements of providing adequate explanation and a meaningful opportunity to respond. In

20   most cases, DHS provided no direct communication at all. Where explanations were given, they

21   were limited to vague codes such as “OTHERWISE FAILING TO MAINTAIN STATUS –

22   Individual identified in criminal records check and/or had their VISA revoked,” with no details

23   or factual basis. Yu Decl. Ex. A; Ouyang Decl. Ex. A. This is plainly insufficient under

24   established due process standards. Plaintiffs have not committed any crime, and they have

25   maintained their student status. Chen Decl. at ¶7; Guo Decl. at ¶5; Yu Decl. at ¶5; Ouyang Decl.
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 1   at ¶6. Thus, the criminal record check or failure to maintain student status could not serve as the

 2   basis for terminating his F-1 student status.

 3           Fang v. Dir. U.S. Immigration & Customs Enf’t, 935 F.3d 172 (3d Cir. 2019) was a class-

 4   action brought by F-1 students ensnared in the “University of Northern New Jersey” sting

 5   operation – a fake university set up by DHS to catch visa fraud brokers. Id. When the sham was

 6   revealed in 2016, ICE terminated the students’ SEVIS records and F-1 visas on grounds of

 7   “fraudulent enrollment,” instantly stripping them of lawful status. Id. at 177. The students argued

 8   that they were innocent victims as they were unaware the school was fake. They received no prior

 9   notice of the termination and no opportunity to contest the fraud allegations before losing their

10   status. They argued that the government violated their Fifth Amendment due process rights by

11   unilaterally terminating their status without notice or hearing. Id. The district court dismissed the

12   case. Id. at 175. The Third Circuit reversed, holding that the lack of any pre-deprivation process

13   raised serious due process concerns. Notably, the Third Circuit pointed out that DHS’s own

14   regulations strictly limit when F-1 status can be terminated under SEVIS – e.g., revocation of a

15   special waiver, a Congressional act, or a national security or public safety notice – and “fraudulent

16   enrollment” is not an authorized ground for termination. Id. at 185 n.100. This underscored that

17   the agency’s action was not in accordance with law and bypassed normal procedural protections.

18   Id. at 186.

19           Defendants’ failure to provide notice, adequate explanations, and a meaningful opportunity

20   to respond in this case is no different from what the students suffered in Fang. Thus the

21   Plaintiffs’ Due Process claim should prevail.

22                 ii.      The Mass Terminations Violate the Administrative Procedure Act.

23           As a preliminary matter, Defendants’ termination of Plaintiffs’ F-1 student status is a final

24   agency action for which this Court has jurisdiction to review. Fang, 935 F.3d at 182 (“[t]he order

25   terminating these students’ F-1 visas marked the consummation of the agency’s decision-making
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 1   process, and is therefore a final order”). On the substantive issue, Defendants had no statutory or

 2   regulatory authority to terminate Plaintiff’s F-1 student status based simply on revocation of a

 3   visa.

 4           Critically, DHS’s ability “to terminate an F-1 [student status] is limited by [8 C.F.R.] §

 5   214.1 (d).” Fang, 935 F.3d at 185 n.100. Under this regulation, DHS can terminate student status

 6   only when: (1) a previously granted waiver under 8 U.S.C. § 1182(d)(3) or (4) is revoked;

 7    (2) a private bill to confer lawful permanent residence is introduced in Congress; or (3) DHS

 8    publishes a notification in the Federal Register identifying national security, diplomatic, or

 9    public safety reasons for termination.

10           The revocation of a visa does not constitute a failure to maintain status and cannot,

11   therefore, serve as a basis for termination of F-1 student status. See Ex. 2. If a visa is revoked

12   before the student’s arrival in the United States, the student may not enter, and his SEVIS record

13   of F-1 student status is terminated. See U.S. DEPARTMENT OF HOMELAND SECURITY, Study in the

14   States – SEVIS Help Hub. However, the SEVIS record of F-1 student status may not be terminated

15   as a result of visa revocation after a student has been admitted into the United States because the

16   student is permitted to continue the authorized course of study. See Ex. 2. DHS’s own policy

17   guidance confirms that “[v]isa revocation is not, in itself, a cause for termination of the

18   student’s SEVIS record.” Id. Rather, if the visa is revoked, the student is permitted to pursue his

19   course of study in school, but upon departure, the SEVIS record of F-1 student status is terminated,

20   and the student must obtain a new visa from a consulate or embassy abroad before returning to the

21   United States. See Ex. 3.

22           Moreover, Plaintiffs have all maintained their F-1 student status. Chen Decl. at ¶3; Guo

23   Decl. at ¶3; Yu Decl. at ¶3; Ouyang Decl. at ¶3. Under the regulation, students fail to maintain

24   their status when they do not comply with the regulatory requirement, such as failing to maintain

25   a full course of study, engaging in unauthorized employment, or other violations of their
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 1   requirements under 8 C.F.R. § 214.2 (f). In addition, 8 C.F.R. § 214.1 (e)-(g) outlines specific

 2   circumstances where certain conduct by any nonimmigrant visa holder, such as engaging in

 3   unauthorized employment, providing false information to DHS, or being convicted of a crime of

 4   violence with a potential sentence of more than a year, “constitute a failure to maintain status.”

 5   None of these violations occurred in any of the Plaintiffs’ cases. Plaintiffs have not committed

 6   any crime. They have not engaged in unauthorized employment. Nor have they provided any

 7   false information to DHS. Chen Decl. at ¶7; Guo Decl. at ¶5; Yu Decl. at ¶5; Ouyang Decl. at ¶6.

 8          In Regents of the Univ. of California v. DHS, the 9th Circuit and Supreme Court held that

 9   DHS violated the APA by failing to provide a reasoned explanation for ending DACA, affirming

10   APA requirements under 5 U.S.C. § 706(2)(A): agency actions cannot be “arbitrary, capricious,

11   an abuse of discretion, or otherwise not in accordance with law.” Regents of the Univ. of

12   California v. DHS, 908 F.3d 476 (9th Cir. 2018), aff’d in part sub nom. DHS v. Regents, 140 S.

13   Ct. 1891 (2020).

14          Accordingly, Professor Rochard Boswell has observed that “[i]n my more than 45 years

15   of practice and certainly since the institution of SEVIS, I am not aware of any comparable mass

16   termination of status…the new practice of issuing terminations of student status without notice

17   deviates from well established procedures which provided for reinstatement of status… It is my

18   opinion that the issuance of these terminations on such a broad scale without notice is creating a

19   climate of fear with the purpose of getting some foreign students to ‘self-deport’ and save the

20   government from having to institute removal procedures”. Boswell Decl. ¶¶16-18.

21          Because Defendants’ unlawful and blanket termination of Plaintiffs’ F-1 student status

22   was arbitrary, and capricious, and without any statutory or regulatory authority, Defendants’

23   termination should be set aside pursuant to 5 U.S.C. 706(2)(A), and otherwise not in accordance

24   with the law, including 8 C.F.R. § 214.1 (d).

25               iii.     The Mass Terminations Violate the Equal Protection Clause.
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 1            The mass terminations unconstitutionally target Plaintiffs, all of whom are from China

 2   and are Chinese nationals, which amounts to discrmination against them based upon national

 3   origin and race in violation of the Fifth Amendment to the U.S. Constitution.

 4            The Supreme Court has determined that “the Due Process Clause of the Fifth Amendment

 5   contains an equal protection component prohibiting the United States from invidiously

 6   discriminating between individuals or groups.” United States v. Carrillo-Lopez, 68 F.4th 1133,

 7   1139 (9th Cir. 2023), cert. denied, 144 S. Ct. 703 (2024) (quoting Washington v. Davis, 426 U.S.

 8   229, 239 (1976)). Equal protection analysis in the Fifth Amendment area is the same as that under

 9   the Fourteenth Amendment. United States v. Machic-Xiap, 552 F. Supp. 3d 1055, 1062 (D. Or.

10   2021).

11            In Adarand Constructors, Inc. v. Pena, the Supreme Court noted that in City of Richmond

12   v. J.A. Croson Co., 488 U.S. 469 (1989), a majority of the Court held that “any person, of

13   whatever race, has the right to demand that any governmental actor subject to the Constitution

14   justify any racial classification subjecting that person to unequal treatment under the strictest

15   judicial scrutiny,” and held that “strict scrutiny is the proper standard for analysis of all racial

16   classifications, whether imposed by a federal, state, or local actor.” 515 U.S. 200, 202 (1995).

17            Strict scrutiny requires the government to show that its action is narrowly tailored to serve

18   a compelling interest. City of Cleburne, Tex. v. Cleburne Living Ctr., 473 U.S. 432, 439-40

19   (1985); Bernal v. Fainter, 467 U.S. 216, 219-22 & n.5 (1984).. As the record shows, the vast

20   majority of the affected students came from China and are Chinese, and the Defendants have yet

21   to publish any sensible rationale for the sudden and mass SEVIS termination. Defendants cannot

22   show that its singling out one group based on race and national origin is necessary to achieve a

23   compelling government purpose under the strict scrutiny standard.

24            B.     Plaintiffs and Other Similarly Affected F-1 Students Will Suffer Irreparable
                     Harm in the Absence of A Temporary Restraining Order.
25
                                                 -16-              CASE NO. 3:25-cv-03292-SI
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 1          Plaintiffs and other affected F-1 students will suffer irreparable injury if Defendants’

 2   termination determinations are not set aside and enjoined. They face possible detention and

 3   deportation because of the unlawful presence stemming from these terminations. See Decl. of

 4   Feng and Von Trapp, at ¶¶ 13-14. “Deportation is a drastic measure, often amounting to lifelong

 5   banishment or exile.” Hernandez-Lara, 10 F.4th at 29 (internal quotations omitted). See Chen

 6   Decl. at ¶9 (“I deeply fear that the government will soon start deporting me and I will never be

 7   able to return to the States again.”); Yu Decl. at ¶6 (“I am also frightened by the prospect that

 8   the government will soon arrest and deport me, which means that I may never get another visa

 9   to come back to this country again”).

10          These terminations will also likely result in the accrual of out of status daily, which is a

11   critical factor for future reinstatement of F-1 student status. Fang, 935 F.3d at 176 (noting that a

12   student should not have been out of a valid F-1 student status for more than 5 months for a

13   reinstatement application).

14          Finally, these terminations will result “in the loss ‘of all that makes life worth living’” for

15   Plaintiffs’ and other affected students’ academic studies and career trajectory. Bridges v. Wixon,

16   326 U.S. 135, 147 (1945); see also Chen Decl. at ¶8 (“I am only a month away from graduating

17   with a Master's degree in architecture…due to the SEVIS termination, I am compelled to halt my

18   current professional undertakings, and my ongoing application for OPT is likely to be denied,

19   depriving me of the invaluable opportunities to apply what I have learned and practiced over the

20   years.”); Yu Decl. at ¶6 (“I am just one semester away from completing my degree at Carnegie

21   Mellon University, with graduation scheduled for August 2025. Leaving now would mean I cannot

22   graduate, and all of my academic progress”); Ouyang Decl. at ¶8 (“The sudden termination of

23   SEVIS has abruptly halted all my ongoing projects, cut off essential research funding, and now

24   threaten to derail my entire career path. This overwhelming setback has not only deeply affected

25   me but also placed my family in an incredibly difficult and uncertain situation”); Guo Decl. at ¶6
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 1   (“Abrupt termination of these engagements would not only lead to contractual breaches and a

 2   sudden loss of income, but would also severely damage my professional reputation... Losing my

 3   F-1 status would render me ineligible for continued employment, deprive me of the hands-on

 4   experience that my academic program was designed to provide, and undermine the substantial

 5   investments I have made in my education and professional development. This situation has deeply

 6   disrupted every aspect of my life. I am now unable to plan or commit to basic obligations such as rent

 7   and utilities, uncertain whether I will be permitted to remain in my home. I have suffered from sleep

 8   disruption, difficulty concentrating, and ongoing emotional strain that has made it challenging to

 9   function in both personal and professional capacities. The sense of instability, helplessness, and fear

10   brought on by this termination has left me emotionally depleted.”)

11           The declarations from 36 other students also echo the same agony and fear, and the real

12   possibility of squandering years of education. Such harm will be irreparable absent a court order.

13           C.      Balance of Equities Weighs Strongly in Favor of A Temporary Restraining
                     Order.
14

15           As evidenced by the slew of recent news articles and the declarations from dozens of

16   students, the recent wave of F-1 student status terminations has a widespread impact on F-1

17   students at universities and colleges across the country, and exposes them to dire consequences.

18   It is unprecedented for the federal government to unilaterally and simultaneously revoke F-1 visa

19   and terminate the SEVIS records of hundreds of international students without prior notice,

20   individual investigation, or coordination with the DSOs of the academic institutions involved.

21   Decl. of Feng and Von Trapp, at ¶4.

22           As set forth above, Plaintiffs and similarly affected F-1 students will suffer immediate

23   and irreparable harm in the absence of a national temporary restraining order. They face possible

24   detention and deportation because of the unlawful presence stemming from these terminations.

25   They will also likely result in the accrual of out of status daily, which is a critical factor for
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 1   future reinstatement of F-1 student status. Moreover, these terminations will result “in the loss

 2   ‘of all that makes life worth living’” for Plaintiffs’ and other affected students’ academic studies

 3   and career trajectory.

 4          By contrast, Defendants have no substantial interest in terminating the F- 1 student status

 5   of Plaintiffs or other affected F-1 students who have committed no crimes and who have

 6   maintained their F–1 status as required. Defendants have no legitimate interest in enforcing these

 7   unconstitutional and unlawful terminations or in exceeding Defendants’ statutory and regulatory

 8   authority by terminating the F-1 student status in a manner that is contrary to federal law.

 9          In any event, granting a temporary restraining order would merely maintain the status quo

10   that has been in place for years of the students’ studies in the United States. Thus, the balance of

11   equities strongly favors the issuance of a temporary restraining order.

12          D.      A Temporary Restraining Order is in the Public Interest.

13          Where the government is a party, courts merge the analysis of the final two
            Winters factors, the balance of equities and the public interest. Drakes Bay Oyster
14          Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014) (citing Nken v. Holder, 556
            U.S. 418, 435, 129 S.Ct. 1749, 173 L.Ed.2d 550 (2009)). Courts “explore the
15          relative harms to applicant and respondent, as well as the interests of the public at
            large.” Barnes v. E-Sys., Inc. Grp. Hosp. Med. & Surgical Ins. Plan, 501 U.S.
16          1301, 1305, 112 S.Ct. 1, 115 L.Ed.2d 1087 (1991) (internal quotation marks and
            citation omitted). The Winters factors may be evaluated on a sliding scale, such
17          that preliminary relief may be issued when the moving party demonstrates “that
            serious questions going to the merits were raised and the balance of hardships tips
18          sharply in the plaintiff's favor.” All. for the Wild Rockies v. Cottrell, 632 F.3d
            1127, 1134-35 (9th Cir. 2011) (citation omitted).
19   Cmty. Legal Servs. in E. Palo Alto v. United States Dep't of Health & Hum. Servs., No. 25-CV-

20   2847-AMO, 2025 WL 973318, at *3 (N.D. Cal. Apr. 1, 2025).

21          Where, as here, the challenged governmental conduct deprives Plaintiffs of their rights

22   and is contrary to the rule of law, both factors – the balance of equities and the public interest -

23   weigh in Plaintiffs’ favor. This is especially true here, where students are contributing to this

24   country and benefitting the public interest by lending their talents to their chosen fields. Chen

25   Decl. at ¶4; Guo Decl. at ¶4; Yu Decl. at ¶7; Ouyang Decl. at ¶4.
                                                    -19-               CASE NO. 3:25-cv-03292-SI
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 1          In contrast, Defendants cannot claim any public interest in proceeding with agency action

 2   that is unconstitutional and exceeds their statutory authority. To the contrary, “courts regularly

 3   find that ‘[t]here is generally no public interest in the perpetuation of unlawful agency action.’

 4   League of Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (citations

 5   omitted). “To the contrary, there is a substantial public interest ‘in having governmental agencies

 6   abide by the federal laws that govern their existence and operations.’” Id. (quoting Washington v.

 7   Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)). The Government fails to convince that it would suffer

 8   harm at this stage. Cmty. Legal Servs. in E. Palo Alto, 2025 WL 973318, at *3.

 9          So too here, because the equities weigh strongly in favor of Plaintiffs, and because there

10   is no public interest in the perpetuation of unlawful agency action, a temporary restraining order

11   should issue.

12          E.        A Nationwide Temporary Restraining Order is the Appropriate Remedy.

13                   i.     The APA Violation Supports A National Temporary Restraining.
                            Order
14

15          There is a robust jurisprudence supporting the issuance of nationwide restraining orders

16 and injunctions, especially in immigration cases. Congress has provided vacatur as a standard

17 remedy for APA violations. See 5 U.S.C. § 706(2) (“The reviewing court shall … hold unlawful

18 and set aside agency action” that is outside any agency’s authority, or “without observance of

19 procedure required by law,” among other things).

20          The Supreme Court has also recognized the principle that “courts invalidate – without

21   qualification – unlawful administrative rules as a matter of course, leaving their predecessor in

22   place until the agencies can take further action.” Pennsylvania v. President United States, 930

23   F.3d 543, 575 (3rd Cir. 2019); see also Dist. of Columbia v. U.S. Dep’t of Agric., 444 F. Supp. 3d

24   1, 48 (D.D.C. 2020) (“An often-cited statement of the same principle is Justice Blackmun's view,

25   ‘in dissent but apparently expressing the view of all nine justices,’ that when a plaintiff ‘prevails’
                                                    -20-                    CASE NO. 3:25-cv-03292-SI
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 1   on a challenge under the APA to ‘a rule of broad applicability,’ ‘the result is that the rule is

 2   invalidated, not simply that the court forbids its application to a particular individual’”) (internal

 3   citation omitted) (emphasis added).

 4          The Ninth Circuit has followed this principle. See Earth Island Inst. v. Ruthenbeck, 490

 5   F.3d 687, 699 (9th Cir. 2007), aff'd in part, rev'd in part sub nom. (“the nationwide injunction …

 6   is compelled by the text of the Administrative Procedure Act”); see also E. Bay Sanctuary

 7   Covenant v. Trump, 950 F.3d 1242, 1283 (9th Cir. 2020) (“Singular equitable relief is

 8   commonplace in APA cases, and is often necessary to provide the plaintiffs with complete

 9   redress.”) (internal quotation marks omitted).

10          In the public law context, recent caselaw suggests a more permissive approach toward

11   issuing nationwide injunctions when challenges to government actions rise under the APA. In

12   Harmon v. Thornburgh, the court explained “when a reviewing court determines that agency

13   regulations are unlawful, the ordinary result is that the rules are vacated – not that their

14   application the individual petitioners is proscribed.” 878 F.2d 484, 495 n.21 (D.C. Cir. 1989).

15   The Ninth circuit agreed. See Earth Island Inst., 490 F.3d 687, 699 (quoting 5 U.S.C. § 706

16   (2006) and citing Nat. Res. Def. Council, Inc. v. EPA, 966 F.2d 1292, 1304 (9th Cir. 1992)

17   (vacating a Clean Water Act rule)).

18          Here, a nationwide temporary restraining order is warranted both under the more

19   traditional “complete relief principle” and the more recent “ordinary result” principle.

20                ii.       A Nationwide Temporary Restraining Order is Warranted as it is
                            Tailored to Remedy a Specific Nationwide Harm.
21

22          There is substantial evidence that international students across the United States are being

23   adversely affected by the unlawful termination of their SEVIS records. According to the 2023

24   SEVIS by the Numbers Report, the total number of SEVIS records for active F-1 and M-1

25   students was 1,503,649 in 2023; there were 160,627 pre-and post-completion OPT students with
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 1   both an employment authorization documents (“EAD”) and who reported working for an

 2   employer in 2023; there were 7,417 total SEVP-certified schools in 2023, there are SEVP-

 3   certified higher education and vocational schools throughout the United States and its territories

 4   with active students. HOMELAND SECURITY INVESTIGATIONS, 2023 Sevis by the Numbers –

 5   Annual Report on International Student Trends. A true and correct copy of the report is attached

 6   hereto as Exhibit 5.

 7             Numerous news articles have confirmed that this is a nationwide operation. See Yao

 8   Decl. Four Plaintiffs came from 4 different schools in different states, and the 36 student

 9   declarations covering 30 schools show that there is indeed a widespread campaign across the

10   nation.

11             Multiple lawsuits have been filed in several states. See e.g., Liu v. DHS, No. 1:25-cv-

12   00133-LM (D.N.H. Apr. 7, 2025) (the court issued a Temporary Restraining Order halting the

13   SEVIS termination of a Chinese doctoral student at Dartmouth College); Liu v. Noem, No. 1:25-

14   cv-00716-JPH-TAB (S.D. Ind. Apr. 15, 2025) (a vertified complaint on behalf of seven Indiana

15   international students whose lawful status was abruptly terminated without explanation was filed

16   on April 15, 2025); see also Paula Wethington, ACLU of Michigan sues Trump administration

17   over international student visa revocation cases, CBS NEWS (Apr. 11, 2025),

18   https://www.cbsnews.com/detroit/news/aclu-michigan-lawsuit-international-student-visa-revocations/.

19                 iii.       A Nationwide Temporary Restraining Order is Necessary to Provide
                              Complete Relief to Plaintiffs and Other F-1 Students.
20

21             Because F-1 students can transfer to different SEVP-certified schools, provided that

22   specific rules outlined by the USCIS are met under 8 C.F.R. § 214.2 (f)(8), and because this case

23   implicates national immigration policy, a nationwide injunction is necessary. In Bresgal v.

24   Brock, the Ninth Circuit affirmed the nationwide scope of an injunction, even though it would

25   impact labor contractors who were not parties to the suit, including contractors located outside
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 1   the Ninth Circuit. 843 F.2d 1163, 1171 (9th Cir. 1987). The Court concluded that a nationwide

 2   scope was necessary to provide the plaintiffs complete relief because “[m]igrant laborers who are

 3   parties to this suit may be involved with contractors whose operations are concentrated

 4   elsewhere.” Id.; see also Texas v. United States, 787 F.3d 733, 769 (5th Cir. 2015) (refusing to

 5   narrow preliminary injunction of Deferred Action for Parents of Americans and Lawful

 6   Permanent Residents (“DAPA”) to Texas or the plaintiff states due to “a substantial likelihood

 7   that a partial injunction would be ineffective because DAPA beneficiaries would be free to move

 8   between states).

 9          So too here. Because Plaintiffs may transfer to schools in other states, and because the

10   mass terminations already affect F-1 students at schools across the country, a nationwide

11   temporary restraining order is necessary and appropriate.

12
     V.     NO SECURITY SHOULD BE REQUIRED
13
           The Ninth Circuit has “recognized that Rule 65(c) invests the district court with
14         discretion as to the amount of security required, if any.” Jorgensen v. Cassiday,
           320 F.3d 906, 919 (9th Cir. 2003) (internal quotation marks and citation omitted)
15         (italics in original). Thus, the district court has discretion to dispense with the
           filing of a bond altogether, or to require only a nominal bond. See id. (“The
16         district court may dispense with the filing of a bond when it concludes there is no
           realistic likelihood of harm to the defendant from enjoining his or her
17         conduct.”)[.]
     NetChoice, LLC v. Bonta, 692 F. Supp. 3d 924, 965–66 (N.D. Cal. 2023), aff'd in part, vacated
18
     in part, 113 F.4th 1101 (9th Cir. 2024).
19
            In Nat'l Ass'n of Diversity Officers in Higher Educ. v. Trump, the court set a nominal
20
     bond of zero dollars in connection with the preliminary injunction sought by plaintiffs to protect
21
     their First and Fifth Amendment rights. No. 1:25-CV-00333-ABA, 2025 WL 573764, at *30 (D.
22
     Md. Feb. 21, 2025). The court determined that a bond of the size the government appeared to
23
     seek would essentially forestall plaintiffs' access to judicial review. Id.
24
            Courts have issued preliminary injunctions “without requiring security based on”
25
                                                 -23-              CASE NO. 3:25-cv-03292-SI
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 1   likelihood of success of prevailing on a First Amendment claim. Frankel v. Regents of Univ. of

 2   California, 744 F. Supp. 3d 1015, 1028 (C.D. Cal. 2024), appeal dismissed, No. 24-5003, 2024

 3   WL 4803385 (9th Cir. Aug. 26, 2024) (citing NetChoice, 692 F. Supp. 3d 924 and Weaver v.

 4   City of Montebello, 370 F. Supp. 3d 1130, 1139 (C.D. Cal. 2019)).

 5          The Court should not require security in this case based on the Plaintiffs’ likelihood of

 6   success in prevailing on the claims and the fact that there is no realistic likelihood of harm to

 7   Defendants from enjoining their illegal conduct.

 8   VI.    CONCLUSION

 9          In summation, the Court should issue a Nationwide Temporary Restraining Order (i)

10   directing Defendants to reinstate the SEVIS records and F-1 student status of Plaintiffs and all

11   other F-1 students who have no record of criminal conviction and whose SEVIS records and F-1

12   visa status have been terminated or revoked since March 1, 2025; and (ii) prohibiting Defendants

13   from issuing future SEVIS terminations against F-1 international students without record of

14   criminal conviction absent notice, individualized explanation, and an opportunity to respond.

15   Dated: April 15, 2025                          Respectfully submitted,

16                                                  DEHENG LAW OFFICES PC

17                                                  /s/    Andre Y. Bates
                                                           Andre Y. Bates
18
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19                                                  Zhuoer Chen, Mengcheng Yu, Jiarong Ouyang, and
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